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                   8

                   9                               UNITED STATES DISTRICT COURT

               10                                NORTHERN DISTRICT OF CALIFORNIA

               11                                          OAKLAND DIVISION

               12
                       IN RE APPLE IPHONE ANTITRUST                    CASE NO. C 11-06714-YGR
               13      LITIGATION                                      Related to Case Nos. C 07-05152-JW and
                                                                       C 11-06714-YGR
               14
                       ZACK WARD and THOMAS BUCHAR, on                 REPLY IN SUPPORT OF DEFENDANT
               15      behalf of themselves and all others similarly   APPLE INC.’S MOTION TO DISMISS
                       situated,                                       PLAINTIFFS’ AMENDED CONSOLIDATED
               16                                                      COMPLAINT
                                         Plaintiffs,
               17             v.                                       Date:         January 15, 2012
                                                                       Time:         2:00 PM
               18      APPLE INC.,                                     Place:        Courtroom 5
               19                        Defendant.
                                                                       The Honorable Yvonne Gonzalez Rogers
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                                                                                REPLY ISO APPLE’S MOTION TO DISMISS PLAINTIFFS’
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                            AMENDED CONSOLIDATED COMPLAINT
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                                                                                                      REPLY ISO APPLE’S MOTION TO DISMISS PLAINTIFFS’
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                   1   I.     INTRODUCTION

                   2          Apple’s motion to dismiss challenged Plaintiffs to explain how Apple’s opening of a new

                   3   distribution platform for software applications (“Apps”) for the iPhone could constitute

                   4   anticompetitive conduct. Recognizing that the App Store has spurred the creation of nearly half

                   5   a million new software products that have been downloaded over 35 billion times, Plaintiffs’

                   6   opposition focuses on procedural arguments. Plaintiffs begin by accusing Apple of procedural

                   7   gamesmanship and urging the Court to deny the motion on technical grounds. The accusations

                   8   are false, but also ironic since this case is an effort to end run Judge Ware’s orders compelling

                   9   arbitration and joinder of ATTM.

               10             The Voice and Data Claim. Plaintiffs concede that it was not necessary to re-plead the

               11      voice and data claim in order to preserve it for appeal. (Opp. at 2.) Plaintiffs re-pled

               12      nevertheless and contend that Apple will suffer no prejudice if the allegations supporting the

               13      voice and data claim remain in the complaint. Plaintiffs are not disclosing their true intent. The

               14      pleadings define the proper limits of discovery, and Plaintiffs in fact stated in their CMC

               15      Statement that they plan to issue discovery on the voice and data issues. This would obviously

               16      prejudice Apple (and non-party ATTM), imposing significant discovery costs based on irrelevant

               17      and extraneous allegations. It also subverts the arbitration that has been ordered with respect to

               18      the voice and data claim and results in a confusing complaint. The voice and data claim should

               19      be dismissed and all allegations pertaining to it should be stricken.

               20             The Apps Claims. Rule 12(g) does not foreclose Apple’s motion to dismiss under Rule

               21      12(b)(1) and (6). The challenges to Plaintiffs’ standing and their “failure to state a claim” are

               22      defenses that cannot be waived, as Plaintiffs themselves concede in their Opposition. Plaintiffs’

               23      12(g) argument also is pointless, since Apple could raise the identical arguments in a motion

               24      under Rule 12(c) (again as Plaintiffs concede), and the Court should therefore hear this now.

               25             Apple is not “collaterally estopped” from challenging the Apps claims for two simple

               26      reasons. First, the ruling in iPhone I was an interlocutory ruling that is not final. Second, the

               27      Apps issues in the two cases are entirely different. Plaintiffs’ complaint in iPhone I was filed

               28      before Apple opened its App Store. It contained no allegations concerning developers setting the

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                   1   prices of Apps, paying Apple 30% of the sales price of paid Apps, and the like. These are core

                   2   to the current Apps claims. iPhone I argued that Apple had not permitted downloadable third

                   3   party applications, had hidden that from consumers, and had destroyed the iPhones of consumers

                   4   who downloaded third-party applications. Those arguments do not apply to this new case.

                   5          This brings us to the substance of the Apps claims. The Complaint alleges that Apple

                   6   “artificially increased” prices for Apps through an “apportionment scheme” whereby App

                   7   developers agree to pay Apple 30% of the sales price of Apps. This allegation is fatal to

                   8   Plaintiffs’ standing. These Plaintiffs do not have antitrust standing under the Supreme Court’s

                   9   Illinois Brick decision since the 30% fee that supposedly leads to the “artificially inflated” prices

               10      for Apps is a separate arrangement between the App developer and Apple. The Ninth Circuit

               11      recently held in In re ATM Fees Antitrust Litigation that Illinois Brick barred a substantively

               12      identical challenge to a fee arrangement between banks that allegedly led to an overpayment by

               13      consumers.

               14             Plaintiffs’ Complaint also fails to allege the fundamental elements of a monopolization

               15      claim. According to Plaintiffs, once they plead that consumers were “locked into” an

               16      aftermarket, all of the pleading requirements of a monopolization claim fall by the wayside.

               17      This includes not having to plead evidentiary facts regarding (1) the defendant’s anticompetitive

               18      conduct, (2) the defendant’s monopoly power, and (3) the boundaries of the product market, all

               19      necessary elements in any monopolization case. Plaintiffs cite no authority supporting this

               20      remarkable contention, which is not surprising because Plaintiffs are dead wrong. First,

               21      anticompetitive conduct is an essential element of all monopolization cases. Contrary to

               22      Plaintiffs’ argument, Newcal stands for the proposition that merely alleging that consumers are

               23      “locked in” is insufficient; there, the plaintiff alleged fraud and deceit. Second, Plaintiffs must

               24      allege that the defendant has monopoly power. Finally, Newcal establishes that the normal

               25      product market definition rules apply in aftermarket cases, which means that a plaintiff must

               26      plead facts concerning the boundaries of the product market, including reasonable

               27      interchangeability. Plaintiffs must plead evidentiary facts to support all three of these elements;
               28      Plaintiffs fail to come close to pleading a single one of them.

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                   1   II.    PLAINTIFFS’ VOICE AND DATA CLAIM AND ALLEGATIONS WERE
                              IMPROPERLY RE-PLED AND SHOULD BE STRICKEN
                   2
                              Plaintiffs concede that it was not necessary to re-allege the dismissed voice and data
                   3
                       count to preserve it for appeal. (Opp. at 2). As a result, the voice and data allegations should be
                   4
                       stricken from the Amended Complaint. Pleadings have consequences. See F.R.C.P. 26(b)(1)
                   5
                       (“any nonprivileged matter that is relevant to any party’s claim or defense”). It is therefore not
                   6
                       meaningless that a dismissed claim has been re-pled and Apple will certainly suffer prejudice if
                   7
                       the dismissed count is allowed to remain. Indeed, Plaintiffs have made clear that they intend to
                   8
                       use the voice and data allegations as a vehicle in discovery. For example, their CMC Statement
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                       claims an entitlement to discovery regarding “the negotiations and resulting agreements or
               10
                       understandings between Apple and ATTM concerning exclusivity, pricing, and profit sharing.”
               11
                       (ECF No. 98 at 10.) Permitting this discovery would prejudice Apple (and non-party ATTM) by
               12
                       subverting the arbitrations ordered in iPhone I and leading to unnecessary expense. The voice
               13
                       and data count should be dismissed and all allegations concerning that count—the vast majority
               14
                       of the allegations in the Complaint—should be stricken.
               15
                       III.   APPLE’S MOTION TO DISMISS THE APPS CLAIMS IS NOT BARRED BY
               16             RULE 12(g)
               17             A “court may consider the defense of failure to state a claim at any time before trial.”
               18      See, e.g., Sun Microsystems Inc. v. Hynix Semiconductor Inc., 534 F. Supp. 2d 1101, 1118-19
               19      (N.D. Cal. 2007). Courts within this District and in sister districts of the Ninth Circuit have held
               20      that “under Rule 12(g), a party does not waive a ground for moving to dismiss for failure to state
               21      a claim by not including that ground in an earlier motion to dismiss.” In re Harmonic, Inc., Sec.
               22      Litig., No. C 00-2287 PJM, 2006 U.S. Dist. LEXIS 90450, at *39-40 (N.D. Cal. Dec. 11, 2006);
               23      Wilson-Combs v. Cal. Dep't of Consumer Affairs, 555 F. Supp. 2d 1110, 1113 n.3 (E.D. Cal.
               24      2008) (“Under Fed. R. Civ. P. 12(g)(2), a defendant can move to dismiss an amended complaint
               25      for failure to state a claim based on arguments not raised in its first motion to dismiss.”);
               26      Hamana v. Kholi, No. 10cv1630 BTM (BGS), 2011 U.S. Dist. LEXIS 123306, at *2-3 (S.D. Cal.
               27      Oct. 24, 2011) (same). Cases from outside the Ninth Circuit are in accord. See, e.g., Vega v.
               28      State Univ. of N.Y. Bd. of Trustees, No. 97 CIV. 5767 (DCL), 2000 U.S. Dist. LEXIS 4749, at

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                   1   *5-6 (S.D.N.Y. Apr. 12, 2000) (“[Plaintiff] argues instead that if a Rule 12(b)(6) defense is

                   2   raised in the first motion, no Rule 12(b)(6) defense may be raised in a successive motion. This

                   3   position, however, is unsupported by case law and does not follow logically from the language of

                   4   Rules 12(g) and 12(h)(2).”).1

                   5           Challenges to standing—a question of subject matter jurisdiction—are also never waived.

                   6   See Wilson-Combs, 555 F. Supp. 2d at 1113 n.3 (“If the court determines that it lacks subject

                   7   matter jurisdiction at any time during the proceedings—even if established under a party’s

                   8   successive motion to dismiss—it must dismiss the action.”)

                   9           Apple’s motion to dismiss identifies a number of incurable defects in Plaintiffs’

               10      complaint which establish that Plaintiffs fail state a claim and do not have antitrust standing as to

               11      their Apps claims. Because these defenses cannot be waived, Apple’s motion to dismiss is not

               12      barred by Rule 12(g) or 12(h) regardless of whether they were raised in the earlier motion to

               13      dismiss. Cal. Practice Guide: Fed. Civ. P. Before Trial § 9:17 (“the fundamental defenses of lack

               14      of subject matter jurisdiction and failure to state a claim or join an indispensable party are never

               15      waived. These three grounds can be raised at any time, even if omitted in earlier pleadings.”);

               16      see also id. § 9:20.

               17              Even assuming, arguendo, that Rules 12(g) and 12(h) bar Apple’s instant motion to

               18      dismiss, which they do not, the Court has the discretion to address the arguments now in order to

               19      efficiently manage the case. If a court is satisfied that a “motion is not brought in bad faith or for

               20      dilatory purposes, and resolution of the motion would expedite the case,” a court may adjudicate

               21      successive failure to state a claim arguments notwithstanding an argument that 12(g) bars the

               22      motion. T.B. v. Chico Unified Sch. Dist., No. 2:07-CV-926-GEB-CMK, 2008 U.S. Dist. LEXIS

               23      103170, at *1-2 (E.D. Cal. Dec. 19, 2008); Allstate Ins. Co. v. Countrywide Fin. Corp., 824 F.

               24      1
                           Chilicky v. Schweiker, 796 F.2d 1131 (9th Cir. 1986), cited by Plaintiffs, does not hold
               25          otherwise. The Chilicky court was specifically addressing waivable defenses and explained:
                           “[a]ny time defendant makes a pre-answer Rule 12 motion, he must include, on penalty of
               26          waiver, the defenses set forth in subdivisions (2) through (5) of Rule 12(b).” Id. at 1136 n.5.
                           The same is true of Sunnergren v. Ahern, No. C 10-2690 LHD (PR), 2010 U.S. Dist. LEXIS
               27          114874 (N.D. Cal. Oct. 27, 2010), and most of the other cases cited by Plaintiffs. “Waivable
                           defenses” are completely different from defenses that cannot be waived—such as standing or
               28          a failure to state a claim (12(b)(1) and (6)) that are the basis for Apple’s motion here—and
                           Plaintiffs’ cases are thus inapposite.
                                                                                   REPLY ISO APPLE’S MOTION TO DISMISS PLAINTIFFS’
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                   1   Supp. 2d 1164, 1174-75 (C.D. Cal. 2011). Apple’s motion to dismiss was not dilatory or brought

                   2   in bad faith—it was simply the result of Plaintiffs’ serial attempts to avoid Judge Ware’s orders.

                   3   Adjudication of these defenses now will certainly expedite the case. Since Apple can raise the

                   4   same arguments in a 12(c) motion for judgment on the pleadings, as Plaintiffs themselves

                   5   concede (Opp. at 8), if the defects in Plaintiffs’ Apps claims are not addressed now, Apple will

                   6   simply renew its arguments in a 12(c) motion.

                   7   IV.    APPLE IS NOT COLLATERALLY ESTOPPED FROM CHALLENGING THE
                              APPS CLAIMS
                   8
                              Plaintiffs assert that Apple is collaterally estopped from challenging the Apps claims
                   9
                       because it supposedly challenged the “same” claims in iPhone I. Plaintiffs even suggest that
               10
                       iPhone I alleged that Apple required “all ‘approved’ apps to be sold only through Apple’s own
               11
                       ‘Apps Store,’ which enabled it to impose a fee equal to 30% of the price of any apps they sold.
               12
                       [citing Complaint at ¶¶ 71-73, 87-90, 122-132.]” (Opp. at 3.) This is not true. There are no
               13
                       allegations anywhere in the iPhone I complaint that mention the App Store or Apple retaining
               14
                       30% of the price charged by developers for paid Apps. These are core allegations that support
               15
                       the “apportionment scheme” challenged in this case. That is because there was no App Store at
               16
                       the time the iPhone I complaint was filed. The iPhone I complaint focused on an earlier phase of
               17
                       Apple’s Apps strategy when iPhone users were unable to download third party applications. The
               18
                       iPhone I plaintiffs attacked that, and Apple’s supposed actions to enforce the restriction by
               19
                       destroying (“bricking”) iPhones through iPhone software update 1.1.1. iPhone I complaint
               20
                       ¶¶ 4-6. These allegations are moot today given that a month after the iPhone I complaint was
               21
                       filed Apple created the App Store that has led to tens of billions of App downloads.
               22
                              Plaintiffs’ Apps claims have evolved into something quite different. They now complain
               23
                       about the terms on which Apple permits downloads. An argument that a claim about the terms
               24
                       on which Apple permits downloads is not the same as a claim about Apple not permitting
               25
                       downloads.
               26
                              Collateral estoppel may preclude relitigation of an issue only where “an issue of fact or
               27
                       law is actually litigated and determined by a valid and final judgment, and the determination is
               28

                                                                                 REPLY ISO APPLE’S MOTION TO DISMISS PLAINTIFFS’
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                   1   essential to the judgment . . . .” Restat. 2d Judgments § 27; see Kamilche Co. v. United States,

                   2   53 F.3d 1059, 1062 (9th Cir. 1995). It is required that “the issue necessarily decided at the

                   3   previous proceeding [be] identical to the one which is sought to be relitigated,” Hydranautics v.

                   4   FilmTec Corp., 204 F.3d 880, 885 (9th Cir. 2000) (emphasis added). The burden of proving that

                   5   the issues are identical rests with the party asserting collateral estoppel. Young v. Hawaii, No.

                   6   08-00540 DAE-KSC, 2009 U.S. Dist. LEXIS 28387, at *9 (D. Haw. Apr. 1, 2009). Collateral

                   7   estoppel may not be applied here for three reasons.

                   8          First, the issues litigated in iPhone I are not the same as those raised by Apple’s motion

                   9   to dismiss the Apps claims here in iPhone II. The allegations and declarations in this case focus

               10      on Apple’s App Store and the propriety of Apple’s 30% revenue share (the alleged

               11      “apportionment scheme”) for third party applications. See Complaint ¶¶ 5-7; Liskow

               12      Declaration, ECF No. 100, Exs. A-E, ¶¶ 3-8. The allegations in iPhone I were very different. In

               13      that case, the Plaintiffs alleged that Apple prohibited third party applications and “bricked”

               14      iPhones of users who had downloaded unauthorized third party applications. iPhone I complaint

               15      ¶¶ 5, 8-9, 12, 49, 56, 73, 96-106, 112, 123, 128. There is no way those issues are identical. See

               16      Coleman v. Commissioner, 16 F.3d 821, 830 (7th Cir. 1994) (“the issue implicated in the second

               17      suit must be identical in all respects to the issue decided in the first suit, with no change in the

               18      controlling facts and applicable legal rules”) (emphasis added); Anspach v. City of Philadelphia,

               19      No. 08-4691, 2010 U.S. App. LEXIS 10277, at *10 (3d Cir. May 19, 2010) (allegations of

               20      “significant new facts” indicate that “issues in a successive suit may fail to constitute the same

               21      ‘issue’ as to merit preclusive effect”).2

               22             Plaintiffs try to bootstrap their way to preclusion by asserting that the ruling in iPhone I

               23      “precludes Apple from raising any form or variation of [arguments against the Apps claims]; not

               24      just the precise arguments Apple made [before].” (Opp. at 10.) That does not even sound like a

               25      2
                           It is not surprising that Plaintiffs have changed the factual basis for their Apps claims, since
               26          Judge Ware granted Apple summary judgment on the iPhone I claim that Apple had
                           intentionally bricked their iPhones in violation of various laws. iPhone I, No. C 07-05152
               27          JW, 2010 U.S. Dist. LEXIS 98270, at *19, 27 (N.D. Cal. July 8, 2010) (holding that plaintiffs
                           had failed to establish standing since they had suffered no injury and that plaintiffs “have not
               28          produced sufficient evidence to show that Defendant Apple acted with an intent to damage
                           Plaintiffs’ iPhones with the 1.1.1 Software.”).
                                                                                   REPLY ISO APPLE’S MOTION TO DISMISS PLAINTIFFS’
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                   1   collateral estoppel argument, and it is not. Plaintiffs’ own citations to Kamilche and Restatement

                   2   § 27 establish that preclusion only applies if the issue to be precluded is identical to the one

                   3   already litigated. Claims about different iterations of Apple’s Apps policies, one prohibiting

                   4   downloads and another permitting them, are plainly different.

                   5          Second, the Apps ruling in iPhone I has no preclusive effect both because it was an

                   6   interlocutory order and because there was no “valid and final judgment.” There was no “valid

                   7   judgment” in plaintiffs’ (or anyone’s) favor in the prior action. Judge Ware found that the entire

                   8   dispute in iPhone I had to be resolved in arbitration rather than in court. Nor is there a “final”

                   9   judgment, as the arbitrator who will preside over these claims will be free to find that Plaintiffs

               10      do not state a claim. Restat. 2d Judgments § 13 cmt. b (“Finality will be lacking if an issue of

               11      law or fact essential to the adjudication of the claim has been reserved for future determination”);

               12      id. cmt. g (“The test of finality, however, is whether the conclusion in question is procedurally

               13      definite”); id. (acknowledging importance to the question of “finality” whether “the decision was

               14      subject to appeal or was in fact reviewed on appeal”).3

               15             Third, the Apps ruling in iPhone I is not “essential to the judgment.” Judge Ware sent

               16      all the iPhone I claims to arbitration, and that determination did not rely in any way on whether

               17
                       3
                           Motion to dismiss rulings are inherently suspect candidates for collateral estoppel. Luben
               18          Indus., Inc. v. United States, 707 F.2d 1037, 1040 (9th Cir. 1983) (inability to appeal
                           interlocutory opinion meant that the opinion was not “sufficiently firm” and that the losing
               19          party “did not have a full and fair opportunity to litigate” the issue, and therefore refusal to
                           apply collateral estoppel was proper); 13D Charles Alan Wright, Arthur R. Miller & Edward
               20          H. Cooper, Federal Practice and Procedure, § 4433 (noting that decisions that “could not
                           have been tested by appeal” are “suspect candidates for preclusion”).
               21
                           Plaintiffs cite a criminal case Cook v. Aagard, No. 2:12cv00157, 2012 U.S. Dist. LEXIS
               22          167425, at *22 (D. Utah Nov. 26, 2012), in support of their claim that “an order denying a
                           motion to dismiss/suppress ‘constitute[s] a final order for purposes of issue preclusion.’”
               23          (Opp. at 11.) They also cite Gildorn Sav. Ass’n v. Commerce Sav. Ass’n, 804 F.2d 390, 392-
                           94 (7th Cir. 1986), for the proposition that a denial of a motion to dismiss may be considered
               24          “final” notwithstanding that the decision was not appealable. (Opp. at 11.) Cook involved a
                           motion to suppress evidence and held only that denial of a motion to dismiss/suppress was
               25          not made non-final for purposes of issue preclusion by the fact that the case was later
                           dismissed pursuant to a plea agreement. 2012 U.S. Dist. LEXIS 167425, at *22-23; it
               26          obviously bears no similarity to this case. Gildorn merely addressed the fact that a denial of
                           a motion to dismiss is interlocutory and therefore not immediately appealable. Neither case
               27          has any relevance to the facts here, in which Judge Ware, after issuing his initial ruling
                           denying the motion to dismiss the Apps claims, ruled that the entire dispute needed to be
               28          adjudicated in arbitration in the first instance. iPhone I, 826 F. Supp. 2d 1168, 1179 (N.D.
                           Cal. 2011). The Apps ruling is not final in that case, much less binding in this one.
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                   1   or not the complaint stated a claim. Once the claims in iPhone I are arbitrated and judgment

                   2   entered, an appeal may be taken from Judge Ware’s arbitration order, and/or from the arbitrator’s

                   3   decision if appropriate, but no appeal can be taken from Judge Ware’s interim ruling on whether

                   4   the complaint states a claim. This alone establishes that applying collateral estoppel would be

                   5   improper. See Restat. 2d Judgments § 27 cmt. h (“Such determinations have the characteristics

                   6   of dicta” so relitigation “is not precluded”).

                   7   V.      PLAINTIFFS’ APPS CLAIMS FAIL AND MUST BE DISMISSED

                   8           A.      Plaintiffs Do Not Have Antitrust Standing

                   9           Plaintiffs recognize they have a standing problem, for in an attempt to avoid “running

               10      squarely into the Illinois Brick wall,” In re ATM Fee Antitrust Litig., 686 F.3d 741, 749 (9th Cir.

               11      2012), they are trying to change the facts they pleaded—and the facts that are common

               12      knowledge to anyone who has ever patronized Apple’s App Store.

               13              Plaintiffs now assert that “iPhone consumers were forced to pay Apple a 30% fee on top

               14      of the cost for the apps.” (Opp. at 11 (emphasis Plaintiffs’, citing Complaint ¶¶ 4-5).) The plain

               15      import of this is that Apple takes the price for an App set by the developer and adds to it, the way

               16      a retailer might add sales tax to the price of an item, a 30% fee. That does not matter legally, as

               17      the Ticketmaster decision makes clear.4 But plaintiffs have a more fundamental problem because

               18      paragraphs 4 and 5 of the Complaint, which they cite, make no mention of a fee paid by

               19      consumers on top of the cost for the Apps. Indeed, nowhere in the complaint is such a fee

               20      mentioned.5 This is not an accident because there is no good faith basis to allege that. Plaintiffs

               21      acknowledge that Apple does not charge consumers a 30% fee on top of the cost for the Apps;

               22      rather, Apple charges developers a 30% fee on Apps that they elect to offer as “paid” on the App

               23      Store (Apple charges nothing on Apps that the developers elect to offer as free). Complaint ¶ 5;

               24      Mot. Dismiss at 7.

               25              The whole thrust of the Complaint is about “Apple’s apportionment scheme” for sales

               26      4
                            See Campos v. Ticketmaster Corp., 140 F.3d 1166 (8th Cir. 1998).
               27      5
                            By contrast, fees that actually were paid by certain class members to ATTM, such as
                            “roaming charges” and the “early termination fee,” are discussed in the Complaint. See
               28           Complaint ¶¶ 46, 47, 61, 62, 87, 101.
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                   1   revenue earned by third party developers of Apps. Complaint ¶ 5. Plaintiffs acknowledge that

                   2   “[d]evelopers set the price of their applications—including free” (RJN Ex. 1), but they surmise

                   3   that because developers only “retain 70 percent of all sales revenues” (id.; Complaint ¶ 5),

                   4   developers have an incentive to charge higher prices to consumers for their apps, resulting in

                   5   “artificially increased prices . . . for iPhone software applications.” Complaint ¶ 7. The

                   6   pleadings thus acknowledge that the developer turns over 30% of the price it sets to Apple.

                   7          This is what makes ATM Fee directly on point.6 The plaintiffs in that case challenged

                   8   bank “interchange fees” that they did not pay but which they claimed led to higher foreign ATM

                   9   fees that they did pay: “Plaintiffs concede that they have never directly paid interchange fees.

               10      Instead, card-issuing banks (including Bank Defendants) pay interchange fees and then include

               11      them when they charge foreign ATM fees (alleged by Plaintiffs to be artificially inflated). In

               12      other words, the Bank Defendants pass on the cost of the interchange fees through the foreign

               13      ATM fees.” Id. at 750-51. Even though the plaintiffs did directly pay allegedly inflated ATM

               14      fees (because the banks supposedly passed on the interchange fee), the Ninth Circuit held that the

               15      claims were barred by Illinois Brick. Id.

               16             Plaintiffs’ theory is identical: the “apportionment scheme” supposedly leads Apps

               17      developers to “pass on” the 30% fee by charging higher prices for their Apps—just as the bank

               18      interchange fees were allegedly “passed on” and led to higher ATM fees in ATM Fees.

               19      Plaintiffs’ complaint is thus barred by Illinois Brick because Apps developers are the proper

               20      party to sue over a claim concerning the “apportionment scheme.” Id.7

               21             B.      Plaintiffs Fail To Plead The Requisite Elements Of Their Antitrust Claims

               22             The Apps claims must also be dismissed because Plaintiffs fail to plead the essential

               23      elements of their monopolization claims. Plaintiffs contend that they have stated a

               24      6
                           ATM Fee issued long after Judge Ware’s class certification order which contains the
                           quotation cited by Plaintiffs in which Judge Ware pointed to a lack of Ninth Circuit authority.
               25          (See Opp. at 5.) There is now controlling Ninth Circuit authority, never considered by Judge
                           Ware, that mandates dismissal of Plaintiffs’ claims for lack of antitrust standing.
               26      7
                           Plaintiffs raise a strawman by claiming that Apple contends developers are the “direct
               27          purchasers” of Apps. (Opp. at 12.) That is not the case. Apple simply takes the legally
                           correct and factually obvious position that developers are the party directly involved in the
               28          antecedent transaction that Plaintiffs complain of: the “apportionment scheme” with Apple.
                           Complaint ¶ 5.
                                                                                 REPLY ISO APPLE’S MOTION TO DISMISS PLAINTIFFS’
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                   1   monopolization claim simply by pleading a cognizable aftermarket. In other words, Plaintiffs

                   2   argue that if an aftermarket is properly pleaded, monopoly power and anticompetitive conduct

                   3   are presumed. (Opp. at 19-20.) Plaintiffs cite no support for that remarkable assertion.

                   4   Adequately pleading an aftermarket satisfies at most one element of a monopolization claim: a

                   5   relevant product market. There is no special exception for aftermarket cases that excuses a

                   6   plaintiff from pleading all the required elements of a monopolization claim, including monopoly

                   7   power and anticompetitive conduct. Verizon Commc’ns, Inc. v. Law Offices of Curtis V. Trinko,

                   8   LLP, 540 U.S. 398, 407 (2004). Plaintiffs have not even tried to plead the following necessary

                   9   elements: (1) that Apple engaged in any anticompetitive conduct; or (2) that Apple has

               10      monopoly power in the claimed aftermarket. As a result, their monopolization claims fail—even

               11      if they had pleaded a cognizable product market, which they have not.

               12                     1.      Plaintiffs Do Not Allege Unlawful Anticompetitive Conduct

               13             Apple’s motion challenged Plaintiffs to identify a legal basis for condemning Apple’s

               14      Apps policies under the Sherman Act. (Mot. Dismiss at 17-18.) Plaintiffs’ response was a single

               15      paragraph at the very end of its brief in which they suggest Newcal excuses their failure to

               16      include sufficient allegations. Plaintiffs’ argument is that the mere fact that consumers of a

               17      primary product are allegedly “locked in” itself constitutes “anticompetitive conduct unless the

               18      consumers ‘knowingly contracted’ to be locked in.” (Opp. at 20.) Plaintiffs misread Newcal and

               19      ignore the fact that “courts agree that only actual ‘anticompetitive’ behavior may satisfy the

               20      exclusionary conduct element of monopolization.” ABA ANTITRUST SECTION, ANTITRUST LAW

               21      DEVELOPMENTS 242 (7th ed. 2012). “This requirement of some form of ‘anticompetitive

               22      conduct’—also called ‘exclusionary conduct,’ ‘deliberateness,’ or ‘willfulness’—has long been a

               23      part of Section 2 jurisprudence.” Id. at 241.

               24             Newcal does not change settled law. In Newcal, the “lock-in” did not itself constitute

               25      anticompetitive conduct. The alleged anticompetitive conduct in Newcal was that Ikon lied to its

               26      customers to get them to agree to lease amendments that were in fact lease extensions. 513 F.3d

               27      at 1043-44 (Ikon “deliberately misled its customers to believe that the contract amendments
               28      would not affect the original contract’s term.”) (emphasis in original); see also id. at 1050

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                   1   (referencing this “fraud and deceit” by Ikon). The lease extensions allegedly hindered other

                   2   service providers’ ability to compete in the aftermarket for copier servicing, and were allegedly

                   3   obtained through outright fraud. Therefore, Newcal raised a factual question as to whether Ikon

                   4   had engaged in unlawful anticompetitive conduct. Id. at 1051.8

                   5          Plaintiffs do not and cannot point to any allegedly fraudulent conduct by Apple. Indeed,

                   6   the Complaint contains no allegations of anticompetitive conduct at all—and certainly no basis

                   7   for challenging Apple’s App policies as anticompetitive. Nor could Plaintiffs allege fraud: they

                   8   do not dispute that Apple announced the very terms that they criticize in a press release before

                   9   the App Store opened. At best, Plaintiffs contend, based upon declarations submitted with their

               10      opposition, that they were “unaware” of Apple’s policies with respect to Apps. (Opp. at 18.)

               11      That seems unlikely, since all of the relevant policies are public, included in press releases, and

               12      evident to anyone who buys an App from the App Store; but, even assuming the declarations are

               13      credible and can be considered on a motion to dismiss, it makes no difference if these Plaintiffs

               14      somehow did not get the word. Failing to educate them is not anticompetitive conduct actionable

               15      under the antitrust laws.

               16             Even active deception (which is not alleged) rarely constitutes an antitrust violation, Am.

               17      Prof’l Testing Service Inc. v. Harcourt Brace Jovanovich Legal & Prof’l Pub’ns, Inc., 108 F.3d

               18      1147, 1152 (9th Cir. 1997), but at least it is conduct. Plaintiffs have not alleged that they were

               19      deceived by Apple. Their true complaint is about the policies themselves, not what they or

               20      others knew about them. And there is no legal basis whatever for saying that the policies

               21      themselves violate antitrust rules proscribing anticompetitive or exclusionary conduct. That is

               22      especially true since the Complaint admits that Apple’s creation of its App Store led to an

               23      expansion of output by giving App developers a platform to create and sell hundreds of

               24      thousands of new products, the opposite of anticompetitive conduct. See Mot. Dismiss at 18-19;

               25
                       8
               26          All aftermarket cases of which Apple is aware in which the plaintiff was found to state a
                           claim involve either conduct similar to that alleged in Newcal or post-purchase changes to
               27          aftermarket service policies for durable goods that permitted the defendant to substantially
                           increase the prices charged to locked-in customers. See Apple’s Op. Br. at 14-15. There are
               28          no allegations here of any changes in policy or post-lock in exploitation, and Plaintiffs
                           certainly do not allege any conduct similar to that found in Newcal.
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                   1   Allied Orthopedic Appliances Inc. v. Tyco Health Care Group LP, 592 F.3d 991, 998-99 (9th

                   2   Cir. 2010) (rejecting monopolization claim where product redesign was an improvement);

                   3   Greater Rockford Energy & Tech. Corp. v. Shell Oil Co., 790 F. Supp. 804, 821 (C.D. Ill. 1992),

                   4   aff’d 998 F.2d 391, 393 (7th Cir. 1993) (antitrust “duties are negative – to refrain from

                   5   anticompetitive conduct – rather than affirmative – to promote competition.”)

                   6          Plaintiffs have altogether failed to plead anticompetitive conduct.

                   7                  2.      Plaintiffs Do Not Allege That Apple Possesses Monopoly Power

                   8          Plaintiffs recognize they have not pleaded that Apple possesses monopoly power in the

                   9   supposed market for “software applications that can be used on the iPhone.” Plaintiffs again

               10      resort to misdirection by asserting that the normal antitrust pleading rules do not apply in Kodak

               11      aftermarket cases: “An aftermarket monopolization case is not analyzed the same way as a

               12      primary market monopolization case.” (Opp. at 19.) Once again, Plaintiffs offer no support for

               13      this bold assertion. The leading treatise on antitrust law explains that “Kodak by no means holds

               14      that every maker of unique parts for its own product has market power or constitutes a separate

               15      market.” P. AREEDA & H. HOVENKAMP, ANTITRUST LAW ¶ 564b (3d ed. 2006). Pleading

               16      monopoly power is required in an aftermarket case.

               17             Plaintiffs then urge that Apple “by definition has 100% monopoly control over every

               18      app” (Opp. at 19). This is unexplained but presumably refers to Apple’s review and approval of

               19      the 500,000+ Apps that are available on Apple’s App Store. This confuses the process of

               20      screening Apps for malware, pornography and bugs with the proper monopoly power question.

               21      The critical question is whether Apple sells a significant enough share of all Apps so that the

               22      antitrust laws should be concerned that Apple possesses market power and could potentially

               23      cause “those injuries (lower output and the associated welfare losses) that matter under the

               24      federal antitrust laws.” Menasha Corp. v. New Am. Mktg. In-Store, Inc., 354 F.3d 661, 663 (7th

               25      Cir. 2004). It is undisputed that App developers set the price for their products. See Request for

               26      Judicial Notice, Ex. 1: “Developers set the price for their applications—including free—and

               27      retain 70 percent of all sales revenues.” Plaintiffs do not—and cannot—plead that output of
               28      Apps has been restricted in any way. Indeed, the App Store has led to the creation of over

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                   1   500,000 new software products, downloaded over 35 billion times. Plaintiffs were required to

                   2   plead—and ultimately must prove—affirmative evidence of Apple’s market power and they have

                   3   not done so. AREEDA & HOVENKAMP, ANTITRUST LAW ¶ 564b (“if firm A’s product is alleged to

                   4   be a market, the plaintiff cannot avoid summary judgment merely by showing physical

                   5   uniqueness, but must show affirmative evidence of power.”). This failure is fatal to Plaintiffs’

                   6   complaint.

                   7                  3.      Plaintiffs’ Product Market Fails As A Matter of Law

                   8          Plaintiffs effectively concede (Opp. at 19) that their claimed “relevant market” does not

                   9   comply with the long-established law, discussed in Apple’s motion to dismiss (at 11-12), that

               10      sets forth the requirements defining a cognizable market. They argue, however, that those rules

               11      apply only to “primary” product markets, and “have no relevance where an aftermarket is

               12      alleged to have been monopolized.” Id. (emphasis Plaintiffs’). Plaintiffs’ argument is foreclosed

               13      by Newcal, which expressly held that a claimed “relevant market” must satisfy the Supreme

               14      Court’s Brown Shoe standard in an “aftermarket” case. Newcal, 513 F.3d at 1051; id. at 1045

               15      (quoting Brown Shoe v. United States, 370 U.S. 294, 325 (1962), for the rule that “The outer

               16      boundaries of a product market are determined by the reasonable interchangeability of use or the

               17      cross-elasticity of demand between the product itself and substitutes for it.”). This confirms that

               18      the normal requirements for pleading a product market apply in aftermarket cases.9

               19             It is clear under these market definition rules that Plaintiffs’ proposed product market

               20      (“software applications that can be used only on iPhones”) fails. There are over 500,000 Apps

               21      9
                           Plaintiffs’ argument that they have adequately pleaded an “aftermarket” is based on a gross
               22          distortion of Newcal and all other aftermarket cases. Franchise agreements and other
                           contracts can serve as evidence that a plaintiff expressly agreed to be limited to the alleged
               23          monopolist’s products in the aftermarket. But, contrary to Plaintiffs’ suggestion, it is not true
                           that the absence of written contract means that an aftermarket exists as a matter of law. As
               24          the Ninth Circuit said in Newcal, the determinative question is whether a consumer could
                           “reasonably discover” that the defendant allegedly charges supracompetitive prices in the
               25          aftermarket. Newcal, 513 F.3d at 1048. That question is analyzed objectively and “very
                           imperfect knowledge suffices to defeat the assertion of a Kodak lock-in market.” Universal
               26          Avionics Sys. Corp. v. Rockwell Intl. Corp., 184 F. Supp. 2d 947, 956 (D. Ariz. 2001);
                           AREEDA & HOVENKAMP, ANTITRUST LAW ¶ 564. Here, is it undisputed that the
               27          “apportionment scheme” and the fact that Apple would review and approve all Apps were
                           publicly announced before the App Store even opened. Request for Judicial Notice, Ex. 1.
               28          That means that consumers could “reasonably discover” information about Apple’s App
                           policies and means that there can be no “aftermarket” limited to Apps for the iPhone.
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                   1   and the Complaint pleads that they perform a myriad of differing functions, which means they

                   2   are not all substitutes. (Mot. Dismiss at 12-13.) Accordingly, the alleged product market is

                   3   overbroad as a matter of law. Universal Grading Serv. v. eBay, Inc., No. C-09-2755 RMW,

                   4   2012 U.S. Dist. LEXIS 2325, at *18-19 (N.D. Cal. Jan. 9, 2012) (rejecting as “overbroad” and

                   5   “amorphous” a market definition which would “encompass the market for every one of the

                   6   millions of items sold through eBay”); POURfect Prods. v. KitchenAid, No. CV-09-2660-PHX-

                   7   GMS, 2010 U.S. Dist. LEXIS 42890, at *12 (D. Ariz. May 3, 2010) (rejecting proposed

                   8   aftermarket of attachments for KitchenAid mixers because plaintiff failed to “allege[] facts

                   9   regarding how the prices of some aftermarket attachments affect the demand for other

               10      attachments”); Apple Inc. v. Psystar Corp., 586 F. Supp. 2d 1190, 1196 (N.D. Cal. 2008)

               11      (“Whether products are part of the same or different markets under antitrust law depends on

               12      whether consumers view those products as reasonable substitutes for one another and would

               13      switch among them in response to changes in relative prices[.]”).10

               14      VI.      CONCLUSION

               15               Apple’s Motion to Dismiss should be granted and Plaintiffs’ Amended Complaint should

               16      be dismissed with prejudice.

               17
                       Dated: December 21, 2012                           Respectfully submitted,
               18
                                                                          LATHAM & WATKINS LLP
               19
                                                                          By        /s/ Sadik Huseny
               20                                                              Sadik Huseny
                                                                               Attorneys for Defendant APPLE INC.
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                       10
               24            Plaintiffs’ contention that dismissal is not appropriate because the Apps aftermarket could
                             potentially be “refine[d]” into economically distinct submarkets misses the mark. It is
               25            Plaintiffs’ burden to plead submarkets if they wish to do so, and they failed to do so. Shred-
                             It Am., Inc. v. Macnaughton, No. CV-00547 DAE-KSC, 2011 U.S. Dist. LEXIS 51933 (D.
               26            Haw. May 13, 2011) (dismissing complaint with conclusory seven word market definition
                             because “the complaint does not contain any allegations concerning economic substitutes for
               27            Shred-it’s proposed product market, and it is entirely unclear to the Court whether Shred-it is
                             attempting to establish a submarket for its product.”) The reason that Plaintiffs did not do so
               28            is because they recognize that they cannot plead that Apple possesses monopoly power with
                             respect to any supposed submarket.
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